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                                         #: 1009



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


  STATE OF RHODE ISLAND; STATE OF
  NEW YORK; STATE OF HAWAI‘I; STATE
  OF ARIZONA; STATE OF CALIFORNIA;
  STATE OF COLORADO; STATE OF
  CONNECTICUT; STATE OF DELAWARE;                   C.A. No. 1:25-cv-00128
  STATE OF ILLINOIS; STATE OF MAINE;
  STATE OF MARYLAND;
  COMMONWEALTH OF MASSACHUSETTS;
  PEOPLE OF THE STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  NEVADA; STATE OF NEW JERSEY; STATE
  OF NEW MEXICO; STATE OF OREGON;
  STATE OF VERMONT; STATE OF
  WASHINGTON; STATE OF WISCONSIN,

                Plaintiffs,

         v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States; INSTITUTE OF
  MUSEUM AND LIBRARY SERVICES;
  KEITH E. SONDERLING, in his official
  capacity as Acting Director of the Institute of
  Museum and Library Services; MINORITY
  BUSINESS AND DEVELOPMENT AGENCY;
  MADIHA D. LATIF, in her official capacity as
  Deputy Under Secretary of Commerce for
  Minority Business Development; HOWARD
  LUTNICK, in his official capacity as Secretary
  of Commerce; FEDERAL MEDIATION AND
  CONCILIATION SERVICE; GREGORY
  GOLDSTEIN, in his official capacity as Acting
  Director of the Federal Mediation and
  Conciliation Service; U.S. OFFICE OF
  MANAGEMENT AND BUDGET; RUSSELL
  T. VOUGHT, in his official capacity as Director
  of the Office of Management and Budget,

                Defendants.




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                             DECLARATION OF NANCY O’NEILL

        Pursuant to 28 U.S.C. § 1746, I, Nancy O’Neill, hereby declare as follows:

        1.      I am a resident of Maryland. I am over the age of 18 and have personal knowledge

 of all the facts stated herein, except as to those matters stated upon information and belief; as to

 those matters, I believe them to be true. If called as a witness, I could and would testify competently

 to the matters set forth below.

        2.      I currently serve as Executive Director of William E. Kirwan Center for Academic

 Innovation (Kirwan Center) at the University System of Maryland (USM).

        3.      USM is Maryland’s public higher education system and includes 12 constituent

 institutions of higher education and three regional higher education centers.

        4.      Established in 2013 by the USM Board of Regents, the Kirwan Center coordinates

 efforts among USM’s institutions and regional higher education centers to increase access,

 affordability, and achievement of high-quality credentials for students across Maryland. The

 Kirwan Center leverages learning sciences research and the latest technologies to implement,

 evaluate, scale, and sustain innovations aimed at student success.

        5.      In 2023, USM was awarded Grant No. LG-254836-OLS-23 by the Institute of

 Museum and Library Services (IMLS) in the amount of $149,877. See Ex. A.

        6.      The purpose of the Grant was to “plan a project to articulate the role of academic

 libraries and library consortia in increasing the relevance of open educational resources through

 [open educational resources (OER)] localization,” thereby “contributing to student success

 through the development and sustained support of relevant, constituency-oriented instructional

 materials and practices.” Id.




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        7.      The Grant also “s[ought] to explicate the replicable practices and partnerships that

 enable localization of OER to benefit the constituencies that academic libraries and consortia

 across the country serve: their students, faculty, institutions, and larger communities.” Id.

        8.      On April 9, 2025, at 10:15 pm, I received a Notice of Grant Termination signed by

 IMLS’s Acting Director, Keith Sonderling. Ex. B.

        9.      The Notice, dated April 8, 2025, announced that the Grant would be terminated

 effective that day (i.e., one day before I received the Notice). Id.

        10.     The Notice stated that “IMLS has determined that your grant is unfortunately no

 longer consistent with the agency’s priorities and no longer serves the interest of the United States

 and the IMLS Program. IMLS is repurposing its funding allocations in a new direction in

 furtherance of the President’s agenda. Independently and secondly, the President’s March 14,

 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities and

 functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14,

 2025).” Id.

        11.     The cancellation of this Grant has resulted in USM’s loss of $67,780 in federal

 funds and will lead to the loss of an important framework that was in development at the time of

 the cancellation; canceled regional events with university library leaders, staff, and other key

 stakeholders; and canceled subcontracts with university and community partners.

        12.     The cancellation of this Grant with minimal explanation also will have a chilling

 effect on USM’s work. USM will not be able to dedicate the resources to complete the framework

 this Grant was designed to deliver. As a planning Grant, the deliverables and ideas generated from

 the dedicated Grant resources were intended to lead to additional grant-seeking and opportunities

 for the Kirwan Center, the USM, and the State of Maryland. This Grant created a unique



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 opportunity that brought together key stakeholders across universities, libraries, and the

 community to collaborate on programs and planning that will ultimately improve student success

 outcomes while simultaneously saving students money through increased localization of open

 educational resources. The cancellation will impact the nascent relationships between USM

 universities’ teaching faculty and libraries, as libraries have not traditionally been foregrounded in

 the adaptation of open educational resources in university settings as part of the Kirwan Center’s

 OER leadership efforts within Maryland.

        I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

        Executed on April 11, 2025, at Adelphi, Maryland.




                                                _____________________________________
                                                      Nancy O’Neill




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                   EXHIBIT A
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     LG-254836-OLS-23




            University System of Maryland




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                                            Advance | Support | Empower




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                   EXHIBIT B
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INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Nancy O'Neill, Julia Chadwick, Celeste Denson

noneill@usmd.edu, jchadwick@usmd.edu, cdenson@usmd.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-254836-OLS-23) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
